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MOTION TO AMEND
                                                        60

Due to a clerical error and for better clarity I ash the court to amend my complaint


Buchser v. WV SOS Werner & WV ELECTION DIVISION

Civil Action Number. 1 :22-cv-001 10




                                                                                                FILED
                                                                                               JAN 122023
                                 IN TIlE UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT                                  ~1CT COURT-WVND
                                             OF WEST VIRGINIA                                      BURG. WV 26301

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    ~°‘-~     ~                                              *

 (Full name and address ofthe plaintiff)
                           Plaintiff(s)   -




                          vs.                                *                        ~2~Z -C—~XD~ 0
                                                                          Civil No.:__________________________
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                                                             *




 (Full name and addr~ss of the defendant(s))
                                 Defendant(s)                 *
                                                         * * * ** *



                                                     COMPLAINT
                  Jurisdiction in this case is based on:

                  C        Diversity (none ofthe defendants are residents of the state where plaintiff is a
                           resident)

                           Federal question (suit is based upon a federal statute or provision of the United
                           States Constitution)

                          Other (explam)           ‘-(‘2 L~1~SJ~Z •ç           ~              /~
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MOTION TO AMEND         *‘aJZt ~3

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During this election I was deprived of my CON~STITUTIONAL RIGHT to VOTE.’

I say this because NO ONE can vote in this state without “REGISTERING TO VOTE” even with the “PROVISIONA~’ VOTING

way of voting, it eventually leads to you being REGISTERED TO VOTE.

This DEPRIVATION does not only affect me but it affects EVERY WEST VIRGINIA LEGAL VOTER. In fact it affebts most of

The rest of the United States as well, but right now we’re dealing with West Virginia and LEGAL VOTERS in West Virginia.

I am OUTRAGED I tried many times during the election year, (once I discovered this FLAW in our system) to let the

Secretary of State Mac Warner and the Governor Jim Justice of our state know that this was UNCONSTITUTIONAL.

Instead of replying to my emails and my posts and my comments on Facebook and Twitter, they ignored me.

That left me no choice I was running for CONGRESS, I could have gone out CAMPAIGNING, but I REFUSED TO GO

THROUGH ANOTHER ELECTION, WHEN I KNEW IT WAS UNCONSTITUTIONAL AND FULL.OF FRAUD.

I called around and got EXPERT OPINION and decided I was correct in my belief, THAT TO FORCE UNITED STATES

CITIZENS TO REGISTER TO VOTE goes against the 14th Amendment to the U.S. CONSTITUTION.

(EXCERPT) That AMENDMENT CLEARLY STATES, NO STATE can make or enforce any law which shall abridge the

privilege of any citizens of the United States.

BELOW IS THE EXACT WORDING...


(ALL PERSONS BORN OR NATURALIZED in the United states, and subject to the jurisdiction thereof, ARE CITIZENS OF

THE UNITED STATES and of the state wherein they reside. NO STATE SHALL MAKE OR ENFORCE ANY LAW which shall

ABRIDGE THE PRIVILEGES or immunities OF CITIZENS OF THE UNITED STATES; nor shall ANY STATE DEPRIVE ANY

PERSON OF life, LIBERTY~ or property WITHOUT DUE PROCESS OF THE LAW; nor deny to any person within its )~.Y-l~A’ c.f~t cv~


the equal protection of the laws. This is SECTION 1, FROM THE US CONSTITUTION, AMENDMENT 14, passed by

Congress on June 13th 1866 ratified July 9th 1868)



‘REDGISTERING TO VoTE” needs to STOP. See below for how flawed it can be.
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 REGISTERING to VOTE’ is riddled with FRAUD not only in our state but all over the country. There are many lawsuits out

about the FRAUD and in fact our own Secretary of State is or was touting last year during the election that he and his

team found 380,000 illegal names on the rolls that would be a 1/4 of the vote was bloated. INFORMATION from an Online

video from August 19, 2022.


He CLAIMS that ELECTION SECURITY is/was his NUMBER 1 PRIORITY since he was elected in 2016. But when I sent him

and the GOVERNOR emails.. and posts and comments, I got no response...



This forced me to TAKE TO YOU, THE COURTS and file the COMPLAINT I filed on October 28th 2022.



I then WAITED for him to STAND UP and say, SHE Is RIGHT, “REGISTERING TO VOTE is UNCONSTITUTIONAL and the

system is full of FRAUD” and then change the FLAWED SYSTEM, but he did not do that.



This is now MY AMENDMENT to my original complaint.



As SECRETARY OF STATE he could have changed everything at that moment but he did not. HE let the election go on HE

let the ELECTION RESULTS be EVEN CERTIFIED and this is where we are.


It seems sadly, that HE Our West Virginia Secretary of State, might be on the corruption side of this issue.


I had wanted to work with him in reorganizing the voting system in West Virginia and potentially all over the country but

sadly I don’t know if that will be possible now. I don’t think HE REALLY HAS ELECTION SECURITY as his number 1 priority.


In fact the above mentioned video I had posted on some of my Facebook pages and it is now removed because he

removed it from his pages. I don’t know what he’s hiding.


He says he’s been working as Secretary of State since 2016 and it’s now 2023. He had plenty of time to change and

update the system and then he had me also explaining the fact that it’s UNCONSTITUTIONAL and he did not change the

system, so sadly I don’t think he will be part of the solution.


The irregularities in redgistering to vote play a big role in the fraud as well as using the US POSTAL SYSTEM.
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MOTION TO AMEND

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I respectfully ask the court for this relief:


That any fees or cost that I incur in pIacin~ this CIVIL ACTION COMPLAINT be RE PAID to me at the end of the process.


That a PERMINATE INJUNCTION to remove the MANDATORY ACT of REDGISTERING to VOTE from the laws’

surrounding our West Virginia ELECTION PROCESS to take place immediately.


That West Virginia declare a “State of Emergency ALL ELECTION RESULTS be declared, NULL and VOID, UNTIL a NEW

CONSTITUTIONAL VOTE/ELECTION will take place in the. near future.


Everyone who is essential to day to day runing of the state will need to continue to work all others will need to leave their

positions effective immediately.


We need to call in the National Guard to enter all OFFICIAL WEST VIRGINIA GOVERNMENT FACILITIES. SECURE THEM

and you will need to REMOVE ALL ELECTED OFFICIALS FROM THEIR OFFICES and get them out of the buildings. THEN I

NEED TO MEET the HEAD of the NATIONAL GUARD here in WEST VIRGINIA. WE WILL get started on REORGANIZING a

VOTE because we cant have a state without people in positions making decisions on a daily basis.


NO ONE who was ELECTED TO OFFICE has a CONSTITUTIONAL RIGHT to their POSITIONS.


AS an EXPERT ON HOW TO VOTE/HOLD AN ELECTION WITHOUT CORRUPTION, having been a VOTING CITIZEN in

Switzerland for the past 15 years, there are SOLUTIONS OUT THERE for the SITUATION I need to HEAD UP a TEAM and

we need to get on this right away.


We have no time to waste!


WE have a lot of ILLEGAL PEOPLE IN OFFICE who were put into office ILLEGALLY by the CORRUPTION and FRAUD in the

system of REGISTERING TO VOTE.
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Thank you for your consideration of this amended complaint...



Respectfully,~~~~                         cb                         4~
Susan Maud         se —
A mother for our country

SUSAN4WV@GMAIL.COM
WWw.SUSAN4USA.COM
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.         V                      V                       V




                                                     PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. K Civ. P. 4(l))

           This summons for (name ofindividual and tide. tf any)
 was received by me on (date)             ( \ i7_1’25I9.~
                                                                             \k~V ~W~’UJuJ i5~-h~C c~
                                                                                 ~v ~hJ~-~~3i_ ~4€~3-~
          ~J I personally served the summons on the individual at (place)
                                                                                     Ofl ~date~)                      or
          iE~ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  a person of suitable age and discretion who resides there,
          On (dale)                                  ,and mailed a copy to the individual’s last known address; or

                served the summons on (name ofindividual)                                                                      who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                     On (date)                        or
          L] I returned the summons unexecuted because                                                                            or
          ~ Other (specify):



        V Myfeesare$                r~               for travel and $          _L_ for services, for a total of $


          I declare under penalty of perjury that this information is true.


Date:       I ) ~ fr2~3
                         L

                                                                                       V   Printed name and title


                                                                        ~c        ~.




                                                                                             Server s address

Additional information regarding attempted service. etc:
